(1 of 17), Page 1 of 17        Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 1 of 17




                             IN THE UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT

                SUSAN WEBBER; JONATHAN ST.                  )
                GODDARD; RHONDA MOUNTAIN                    )
                CHIEF; DAVID MOUNTAIN                       )
                CHIEF,                                      )
                                                            )
                          Plaintiffs-Appellants,            )
                                                            )
                              v.                            )        No. 25-2717
                                                            )
                U.S. DEPARTMENT OF                          )
                HOMELAND SECURITY; KRISTI                   )
                NOEM, in her official capacity; THE         )
                UNITED STATES OF AMERICA,                   )
                                                            )
                          Defendants-Appellees.             )

                        APPELLEES’ RESPONSE IN OPPOSITION TO
                APPELLANTS’ MOTION FOR AN INJUNCTION PENDING APPEAL
                    Plaintiffs seek to appeal an interlocutory order transferring their case to another

             federal court, and now try to enjoin—during the pendency of their appeal—Executive

             Orders and Proclamations that imposed tariffs pursuant to the International

             Emergency Economic Powers Act (IEEPA) and section 232 of the Trade Expansion

             Act of 1962. This Court should deny their motion.

                    Plaintiffs have no likelihood of success on the merits for multiple independent

             reasons. First, as defendants have explained in our pending motion to dismiss, this

             Court lacks jurisdiction over the appeal because an order transferring a case is neither

             a final order nor an appealable collateral order. Second, the district court correctly

             concluded that the U.S. Court of International Trade (the Trade Court) has exclusive
(2 of 17), Page 2 of 17      Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 2 of 17




             jurisdiction over plaintiffs’ suit. And if any doubt remained on that score, this Court’s

             precedent makes clear that transfer to the Trade Court is appropriate for that court to

             determine its own jurisdiction in the first instance. Plaintiffs thus cannot show that

             the district court likely erred in transferring the case in any event. Finally, even aside

             from these hurdles, plaintiffs make no showing of likelihood of success on the merits

             of their underlying claims that could warrant an injunction pending appeal, and the

             other factors justifying injunctive relief pending appeal disfavor plaintiffs. Because

             plaintiffs fail to satisfy any of the factors, the motion should be denied.

                                                   STATEMENT

                    A.     Executive Orders Under IEEPA

                    In January 2025, the President declared the flow of fentanyl into the country,

             and the resulting public-health crisis, to be a national emergency. Declaring a National

             Emergency at the Southern Border of the United States, 90 Fed. Reg. 8,327 (Jan. 29, 2025).

             Using his broad powers under IEEPA, the President took action to deal with the

             emergency, ordering that most Canadian imports be assessed a 25 percent duty

             (except for energy and energy resources, which were assessed a 10 percent duty).

             Executive Order 14193, Imposing Duties to Address the Flow of Illicit Drugs Across Our

             Northern Border, 90 Fed. Reg. 9,113, 9,114 (Feb. 7, 2025). The President later issued an

             Executive Order exempting all Canadian goods that qualify for duty-free entry under

             the United States-Mexico-Canada Agreement (USMCA). Executive Order 14231,



                                                           2
(3 of 17), Page 3 of 17      Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 3 of 17




             Amendment to Duties to Address the Flow of Illicit Drugs Across Our Northern Border, 90 Fed.

             Reg. 11,785 (Mar. 11, 2025).

                    On April 2, 2025, the President declared a separate national emergency, finding

             “that underlying conditions, including a lack of reciprocity in our bilateral trade

             relationships, disparate tariff rates and non-tariff barriers, and U.S. trading partners’

             economic policies that suppress domestic wages and consumption, as indicated by

             large and persistent annual U.S. goods trade deficits, constitute an unusual and

             extraordinary threat to the national security and economy of the United States.”

             Executive Order 14257, Regulating Imports With a Reciprocal Tariff to Rectify Trade Practices

             That Contribute to Large and Persistent Annual United States Goods Trade Deficits, 90 Fed.

             Reg. 15,041 (Apr. 7, 2025). Citing IEEPA, the President acted to address this threat

             by, among other things, imposing a 10 percent ad valorem tariff on most imported

             goods. Id. at 15,045. But Executive Order 14257 does not apply to Canadian goods

             that qualify for duty-free entry under the USMCA. Id. at 15,046.

                    B.     Proclamations Under Section 232

                    Section 232 of the Trade Expansion Act of 1962, as amended, directs the

             President, after an investigation conducted by the Department of Commerce, to

             “adjust the imports” of articles that threaten to impair “national security.” 19 U.S.C.

             § 1862.

                    In January 2018, the Secretary of Commerce transmitted to the President

             reports finding that steel and aluminum articles were being imported into the United

                                                           3
(4 of 17), Page 4 of 17      Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 4 of 17




             States in such quantities and under such circumstances as to threaten to impair

             national security. Proclamation 9705, Adjusting Imports of Steel Into the United States, 83

             Fed. Reg. 11,625 (Mar. 15, 2018); Proclamation 9704, Adjusting Imports of Aluminum Into

             the United States, 83 Fed. Reg. 11,619 (Mar. 15, 2018). The President concurred with

             the Secretary’s findings and adjusted imports of steel and aluminum by imposing 25

             percent tariffs on steel articles and 10 percent tariffs on aluminum articles. While

             Canada was initially exempted, on February 10, 2025, the President extended section

             232 tariffs to Canadian steel and aluminum articles based on fresh information that

             imports of steel and aluminum articles from certain countries like Canada had

             increased over the past few years and threatened to impair national security.

             Accordingly, the President imposed 25 percent tariffs on Canadian steel, aluminum,

             and derivative articles. Proclamation 10896, Adjusting Imports of Steel Into the United

             States, 90 Fed. Reg. 9,817 (Feb. 18, 2025); Proclamation 10895, Adjusting Imports of

             Aluminum Into the United States, 90 Fed. Reg. 9,807 (Feb. 18, 2025).

                    C.     District Court Proceedings

                    In the district court, plaintiffs moved for preliminary and permanent relief

             enjoining the tariffs imposed by these executive orders and proclamations. Doc. 4.

             The government moved to transfer the action to the Trade Court because that court

             has exclusive subject-matter jurisdiction over the matter. Docs. 18, 19.

                    The district court granted the government’s motion, determining that the Trade

             Court had exclusive subject-matter jurisdiction over plaintiffs’ challenge to tariffs

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(5 of 17), Page 5 of 17      Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 5 of 17




             imposed on Canadian goods under IEEPA and section 232. Doc. 40. The district

             court accordingly transferred the case to the Trade Court under 28 U.S.C. § 1631,

             which permits a federal court without jurisdiction to transfer a case to one with

             jurisdiction. Plaintiffs filed a notice of appeal of the transfer order, and the same day

             moved the district court for an injunction pending appeal. Docs. 41-43. The court

             denied plaintiffs’ motion, explaining that, because a notice of appeal had been filed, it

             had been divested of jurisdiction, and that no exception allowing it to retain

             jurisdiction applied. Doc. 47. On May 1, 2025, the government moved to dismiss

             plaintiffs’ appeal for lack of appellate jurisdiction, explaining that transfer decisions

             are interlocutory decisions that cannot be immediately appealed. DktEntry 7.1. That

             same day, plaintiffs filed a motion for injunctive relief pending appeal. DktEntry 5.1.

             The motion to dismiss is fully briefed and ripe for resolution. See DktEntry 9.1

             (opposition brief); DktEntry 10.1 (reply).

                                           STANDARD OF REVIEW

                    To obtain the extraordinary remedy of an injunction pending appeal, plaintiffs

             must establish that their “claims are likely to prevail, that denying [them] relief would

             lead to irreparable injury, and that granting relief would not harm the public interest.”

             Roman Catholic Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 16 (2020) (per curiam). An

             injunction pending appeal “demands a significantly higher justification” than a stay

             because “an injunction does not simply suspend judicial alteration of the status quo

             but grants judicial intervention that has been withheld by lower courts.” Respect Me.

                                                          5
(6 of 17), Page 6 of 17        Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 6 of 17




             PAC v. McKee, 562 U.S. 996, 996 (2010) (quotation marks omitted). Plaintiffs

             therefore must make a “strong showing” that they will prevail on the merits. Roman

             Catholic Diocese, 592 U.S. at 16. “If a movant fails to establish likelihood of success on

             the merits, [the Court] need not consider the other factors.” California v. Azar, 950

             F.3d 1067, 1083 (9th Cir. 2020) (quotation marks omitted).

                                                   ARGUMENT

                 I.        Plaintiffs Are Unlikely To Succeed On The Merits

                      The district court transferred this action to the Court of International Trade.

             Plaintiffs seek to appeal that transfer and ask for an injunction pending appeal against

             the underlying executive orders and proclamations they challenge. Thus, to show

             likely success on the merits, plaintiffs must show a likelihood that this Court will

             conclude that (1) the interlocutory transfer order is immediately appealable; (2)

             transfer was improper; and (3) plaintiffs are likely to succeed on their underlying

             claims. See Munaf v. Geren, 553 U.S. 674, 690 (2008). Plaintiffs cannot make any of

             these showings.

                      A.     The District Court Properly Transferred This Action to the Court
                             of International Trade, and The Transfer Order Is Not Appealable

                      1. As defendants’ pending motion to dismiss plaintiffs’ appeal explains, the

             district court’s non-final transfer order is not subject to interlocutory appeal.

             DktEntry 7.1; DktEntry 10.1. This Court’s jurisdiction in civil cases is generally

             limited to appeals from “final decisions of the district courts.” 28 U.S.C. § 1291. A


                                                           6
(7 of 17), Page 7 of 17      Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 7 of 17




             district court’s order is “final” when it “ends the litigation on the merits and leaves

             nothing for the court to do but execute the judgment.” Firestone Tire & Rubber Co. v.

             Risjord, 449 U.S. 368, 373–74 (1981) (quotation omitted). This Court may also

             entertain appeals from certain “collateral” orders that are “effectively unreviewable on

             appeal from a final judgment.” Breazeale v. Victim Servs., Inc., 878 F.3d 759, 766 (9th

             Cir. 2017).

                    The district court’s transfer order is not “final” within the meaning of 28 U.S.C.

             § 1291. Litigation on the merits (including any threshold defenses to plaintiffs’

             claims) will proceed in the Trade Court. As section 1631 explains, a case transferred

             under its provisions “shall proceed as if it had been filed in” the transferee court. As

             such, this Court’s sibling circuits uniformly have concluded that section 1631 orders

             are not final. See, e.g., Subsalve USA Corp. v. Watson Mfg., Inc., 462 F.3d 41, 47 (1st Cir.

             2006) (“Although the issue is one of first impression in this circuit, every court of

             appeals to have confronted it has concluded that section 1631 transfer orders are not

             immediately appealable.”) (collecting cases); see also Montana Wildlife Fed’n v. Haaland,

             127 F.4th 1, 32 (9th Cir. 2025) (transfer orders under 28 U.S.C. §§ 1404 and 1406 “are

             interlocutory in nature and are not appealable prior to final judgment” (quotation

             omitted)).

                    The district court’s transfer order is not an appealable collateral order, either.

             Section 1631 transfer orders are “effectively reviewable by the transferee circuit

             court,” as every circuit to address this question has concluded. Cruz v. Ridge, 383 F.3d

                                                           7
(8 of 17), Page 8 of 17      Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 8 of 17




             62, 65 (2d Cir. 2004) (per curiam); Ukiah Adventist Hosp. v. Fed. Trade Comm’n, 981 F.2d

             543, 546–48 (D.C. Cir. 1992); In re Carefirst of Md., Inc., 305 F.3d 253, 262 (4th Cir.

             2002); Fed. Deposit Ins. Corp. v. McGlamery, 74 F.3d 218, 221 (10th Cir. 1996); Persyn v.

             United States, 935 F.2d 69, 73 (5th Cir. 1991); Alimenta (USA) v. Lyng, 872 F.2d 382,

             384–85 (11th Cir. 1989); Kinder v. City of Myrtle Beach, 2015 WL 4456562, at *1 (6th

             Cir. July 20, 2015) (unpublished); United States ex rel. Felton v. Allflex USA, Inc., 155

             F.3d 570 (Fed. Cir. 1998) (unpublished). Accordingly, plaintiffs are not likely to

             prevail on the merits of their appeal because this Court lacks jurisdiction over the

             appeal.

                    2. Nor are plaintiffs likely to prevail on their arguments that the district court

             erred by transferring the case. The district court correctly concluded that it lacked

             jurisdiction over this matter because Congress has vested exclusive jurisdiction in the

             Trade Court. Doc. 40. The Trade Court has “exclusive” jurisdiction over “any civil

             action commenced against the United States, its agencies, or its officers, that arises out

             of any law of the United States providing for . . . tariffs, duties, fees, or other taxes on

             the importation of merchandise for reasons other than the raising of revenue,” 28

             U.S.C. § 1581(i)(1)(B), as well as any civil action arising out of any law “providing for

             administration and enforcement with respect to” such matters, id. § 1581(i)(1)(D).

             This grant of exclusive jurisdiction covers plaintiffs’ challenge to national-security

             tariffs imposed under IEEPA and section 232. Cornet Stores v. Morton, 632 F.2d 96,

             99–100 (9th Cir. 1980) (holding that a challenge to tariffs imposed under IEEPA’s

                                                           8
(9 of 17), Page 9 of 17      Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 9 of 17




             materially indistinguishable predecessor fell within the exclusive jurisdiction of the

             Customs Court, the Trade Court’s predecessor); Transpacific Steel LLC v. United States, 4

             F.4th 1306, 1318 n.5 (Fed. Cir. 2021) (challenges to section 232 tariffs are “clearly

             cover[ed]” by the Trade Court’s jurisdictional statute). Indeed, the Trade Court is

             presently exercising jurisdiction over materially identical actions challenging many of

             the tariffs at issue here. Doc. 40 at 15 (citing three such actions). The district court

             was “divested of jurisdiction,” K Mart Corp. v. Cartier, Inc., 485 U.S. 176, 182–83

             (1988), and it rightly transferred plaintiffs’ case to the Trade Court.

                    Moreover, even if some doubt remained about the Trade Court’s jurisdiction,

             this Court’s precedent is clear that in situations where a matter may be within the

             Trade Court’s exclusive jurisdiction, “the prudent thing to do” is precisely what the

             district court did here: “transfer the case to the [Trade Court] so that [it] can

             determine the question of its own jurisdiction.” Pentax Corp. v. Myhra, 72 F.3d 708,

             711 (9th Cir. 1995). Plaintiffs cannot show any likelihood of success where the

             district court followed the course this Court has prescribed for resolving questions

             regarding the Trade Court’s exclusive jurisdiction.

                    Plaintiffs’ arguments to the contrary are unpersuasive. They argue that they are

             members of the Blackfeet Tribe who assert claimed rights under the Indian

             Commerce Clause and the Jay Treaty of 1794 to be free from tariffs, DktEntry 5.1

             (Mot.) at 4–15, and that, in their view, these are claims within the district court’s

             jurisdiction. The particular legal arguments that plaintiffs have raised to challenge

                                                          9
(10 of 17), Page 10 of 17    Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 10 of 17




             these tariffs do not matter; otherwise, litigants “could simply recast” their claims to

             circumvent the Trade Court’s exclusive jurisdiction. United States v. Universal Fruits &

             Vegetables Corp., 370 F.3d 829, 836 (9th Cir. 2004). But Congress’s “grant of exclusive

             jurisdiction cannot be so easily circumvented.” Id. Plaintiffs “may not, by creatively

             framing [their] complaint, circumvent a congressional grant of jurisdiction” to the

             Trade Court. Id. (quotation omitted). Plaintiffs’ civil action seeks to enjoin tariffs

             imposed under statutes providing for tariffs and the administration and enforcement

             with respect to tariff matters. Mot. 1. That means the Trade Court, not the district

             court, has jurisdiction over the action. 28 U.S.C. § 1581(i); K Mart Corp., 485 U.S. at

             182–83.

                    Indeed, the Trade Court’s predecessor and the appellate court with exclusive

             jurisdiction to review its decisions considered claims of Native Americans alleging

             entitlement to duty-free entry of goods under the Jay Treaty of 1794. Akins v. United

             States, 551 F.2d 1222 (C.C.P.A. 1977); United States v. Garrow, 88 F.2d 318 (C.C.P.A.

             1937). These claims, like plaintiffs’, fell within that court’s exclusive jurisdiction.

             Akins v. Saxbe, 380 F. Supp. 1210, 1218 (D. Me. 1974) (dismissing a Jay Treaty claim

             because it was “within the exclusive jurisdiction of the Customs Court”). And in any

             event, that prior exercise of jurisdiction underscores the propriety of this Court’s

             instruction that cases should be transferred to allow the Trade Court to determine its

             own jurisdiction. Pentax Corp., 72 F.3d at 711.



                                                          10
(11 of 17), Page 11 of 17    Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 11 of 17




                    Plaintiffs’ argument that 28 U.S.C. § 1362 gives the district court jurisdiction

             over all civil actions brought by Indian Tribes fares no better. Mot. 10. First, section

             1362 covers only cases actually brought by Indian Tribes or Bands. But the Blackfeet

             Tribe is not the plaintiff here; rather, plaintiffs are members of the Blackfeet Tribe

             pursuing their case as individuals. See Dillon v. Montana, 634 F.2d 463, 469 (9th Cir.

             1980) (section 1362 applies to Indian Tribes and “is not available to individual

             Indians”). Moreover, unlike section 1581, section 1362 does not grant the district

             courts exclusive jurisdiction; rather, it simply mirrors section 1331’s general grant of

             federal-question jurisdiction and extends that grant to Indian Tribes. Section 1362

             “does not itself signify that Indian tribes are exempted from the provisions of” other

             jurisdictional statutes. Moe v. Confederated Salish & Kootenai Tribes of Flathead Rsrv., 425

             U.S. 463, 472 (1976). And as the district court correctly held, “by creating a grant of

             exclusive jurisdiction, [s]ection 1581(i) removes specific actions from the general

             federal-question jurisdiction of the district courts [ ] and places them in the

             jurisdiction of the Court of International Trade.” Doc. 40 at 10 (cleaned up). Finally,

             section 1581—in addition to being enacted later in time—is more specific than 1362.

             See Morton v. Mancari, 417 U.S. 535, 550-51 (1974). There is no viable legal theory

             under which section 1362 overrides section 1581.




                                                          11
(12 of 17), Page 12 of 17    Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 12 of 17




                    B.      Plaintiffs Are Not Likely To Succeed On Their Underlying Claims

                    Even if this Court had jurisdiction to hear plaintiffs’ appeal, and even if

             plaintiffs’ arguments about the district court’s jurisdiction were likely to succeed,

             plaintiffs would still be unlikely to succeed on their substantive claims.

                    To start, plaintiffs insist that likelihood of success on their claims is “not a

             consideration at the motions stage,” and thus only cursorily mention their arguments

             concerning the Indian Commerce Clause. Mot. 11. But plaintiffs must make a

             “strong showing” that they will prevail on the underlying merits. Roman Catholic

             Diocese, 592 U.S. at 16; Munaf, 553 U.S. at 690–91 (holding that a district court abused

             its discretion in granting an injunction after addressing jurisdictional issues but

             “without even considering the merits” of the underlying claim). Plaintiffs’

             “[i]nadequately briefed and perfunctory arguments” on the merits are thus “waived.”

             Cal. Pac. Bank v. FDIC, 885 F.3d 560, 570 (9th Cir. 2018).

                    Plaintiffs’ arguments readily fail in any event. Plaintiffs argue that only

             Congress can regulate trade with the Indian tribes, Mot. 11, but they cannot explain

             how that argument relates to this case. No Indian tribe is a party to this case. And

             the tariffs plaintiffs challenge regulate foreign commerce, not commerce with Indian

             tribes. Nor is there any question that Congress can constitutionally delegate to the

             Executive its powers to regulate commerce, including commerce with Indian tribes.

             J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394 (1928).



                                                          12
(13 of 17), Page 13 of 17     Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 13 of 17




                    Plaintiffs likewise will not succeed on their Jay Treaty claim. The Jay Treaty is

             no longer in effect. As the Supreme Court concluded in Karnuth v. United States ex rel.

             Albro, 279 U.S. 231 (1929), article III of the Jay Treaty, which in part afforded Native

             Americans duty-free entry of their goods, “was brought to an end by the War of 1812

             . . . .” Id. at 241. Accordingly, federal courts with jurisdiction over challenges to

             tariffs have routinely held that the exemption from tariffs that plaintiffs here claim no

             longer exists. See, e.g., Akins, 551 F.2d at 1228 (“We agree with the Customs Court

             that the provisions of Article III . . . are no longer in force.”); Garrow, 88 F.2d at 323

             (same).

                    Plaintiffs have thus failed to make a strong showing of likelihood of success on

             the merits.

             II.    The Remaining Factors Favor The Government

                    Plaintiffs’ failure to establish a likelihood of success on the merits is sufficient

             to deny their motion. See, e.g., Aargon Agency, Inc. v. O’Laughlin, 70 F.4th 1224, 1240

             (9th Cir. 2023) (“Because plaintiffs fail to show any likelihood of success on any of

             their claims, we have no need to address any of the remaining [preliminary injunction]

             factors.”). Plaintiffs likewise fail to satisfy the remaining factors necessary to obtain

             an injunction.

                    1. First, plaintiffs cannot establish irreparable harm. Two of them say that their

             “cab company depends on tourism” and that their bookings are down, Mot. 16, but

             both fail to explain how this issue involves tariffs on imported goods. Another

                                                          13
(14 of 17), Page 14 of 17    Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 14 of 17




             plaintiff says that he paid a $308.77 tariff, but “[m]ere financial injury” does not

             “constitute irreparable harm” because “adequate compensatory relief will be available

             in the course of litigation” at the Trade Court. Goldie’s Bookstore, Inc. v. Superior Ct., 739

             F.2d 466, 471 (9th Cir. 1984). Nor does one alleged instance of past harm suffice to

             show the imminent future irreparable harm necessary to obtain prospective relief. See

             City of Los Angeles v. Lyons, 461 U.S. 95, 105–10 (1983). And the remaining evidence

             discussed by plaintiffs involves non-parties and not plaintiffs themselves. Mot. 16–18

             (citing declarations from non-parties who allege that tariffs have harmed their

             businesses). Plaintiffs accordingly have failed to demonstrate irreparable harm absent

             an injunction pending appeal.

                    2. Nor can they show that the public interest or balance of hardships favor an

             injunction. The President has declared a national emergency in light of threats to the

             United States’ economy, military preparedness, and national security. In these

             circumstances, IEEPA and section 232 authorize the President to take appropriate

             action to address the threats to the United States. The equities and public interest lie

             there, not with plaintiffs.

                    An injunction would also be an enormous intrusion on the President’s conduct

             of foreign affairs and efforts to protect national security under IEEPA, section 232,

             and the Constitution. See U.S. Const. art. II, § 2. This is particularly so given that the

             United States is currently in sensitive trade negotiations with a multitude of

             countries—discussions that preliminary relief would likely short-circuit. See Executive

                                                          14
(15 of 17), Page 15 of 17    Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 15 of 17




             Order 14266, Modifying Reciprocal Tariff Rates to Reflect Trading Partner Retaliation and

             Alignment, 90 Fed. Reg. 15,625 (Apr. 15, 2025) (since the issuance of Executive Order

             14257, “more than 75 other foreign trading partners . . . have approached the United

             States to address the lack of trade reciprocity in our economic relationships and our

             resulting national and economic security concerns”). Plaintiffs’ request to enjoin the

             tariffs pending their meritless appeal would undermine the President’s goals and

             weaken the effectiveness of the President’s chosen action. By contrast, plaintiffs have

             not shown any hardship beyond compensable economic harm.




                                                           15
(16 of 17), Page 16 of 17    Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 16 of 17




                                                   CONCLUSION

                    For these reasons, plaintiffs’ motion for an injunction pending appeal should

             be denied.

             Dated: May 12, 2025                                  Respectfully submitted,

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                                                             16
(17 of 17), Page 17 of 17   Case: 25-2717, 05/12/2025, DktEntry: 12.1, Page 17 of 17




                                   CERTIFICATE OF COMPLIANCE

                    I hereby certify that the foregoing motion complies with the type-volume

             limitation of Federal Rule of Appellate Procedure 27(d)(2) and Ninth Circuit Rules

             27-1(1)(d) and 32-3 because it contains 3,528 words and 16 pages. This Motion

             complies with the typeface and the type-style requirements of Federal Rule of

             Appellate Procedure 27 because this brief has been prepared in a proportionally

             spaced typeface using Word 14-point Garamond typeface.

                                                           /s/ Luke Mathers
                                                           LUKE MATHERS
